
*1112OPINION.
Green:
The Commissioner offered no evidence and all of the facts are uncontroverted. The depositions of numerous witnesses, all reputable citizens of St. Paul and qualified by experience and knowledge, were taken, and all placed on said lease at the time of the exchange a valuation of $200,000, which value we' believe to be correct. In some instances these witnesses went into detail as to their reasons for such valuation, and such detail indicated their valuation to be based on sound business judgment. The taxpayer having acquired the lease of the value of $200,000 in exchange for stock, it is entitled to include it in its invested capital at such value. This disposes of the first issue.
*1113The second issue must also be resolved in favor of the taxpayer. Under the decisions of this Board in the Appeal of Hotel De France Co., 1 B. T. A. 28, and the Appeal of Crosvenor Atterbury, 1 B. T. A. 169, the value of the lease may be amortized and an aliquot part deducted annually.
